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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MINNESOTA
                                     FOURTH DIVISION


 RODERICK ARNOLD, et al.,                     )   CIVIL ACTION NO. 01-CV-2086
 on behalf of themselves and all others       )   (DWF/AJB)
 similarly situated,                          )
                                              )   CLASS ACTION
                Plaintiffs,                   )
                                              )
 v.                                           )
                                              )
 CARGILL, INCORPORATED,                       )
                                              )
                Defendant.                    )


                      NOTIFICATION OF CONVENTIONAL FILING

                                                  OF

                                  EXHIBITS 1 and 2
                                         To
                     DECLARATION OF SUSAN M. COLER IN OPPOSITION
               TO DEFENDANT’S APPEAL FROM PARAGRAPH 4 OF JULY 13, 2004,
                             ORDER OF MAGISTRATE JUDGE

                                     FILED UNDER SEAL



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 X Item(s) Under Seal.*

        Exhibits 1 and 2 to the Declaration of Susan M. Coler in Opposition to Defendant’s
        Appeal From Paragraph 4 of July 13, 2004, Order of Magistrate Judge

___ Conformance with the Judicial Conference Privacy Policy (General Order 53)

___ Other (description):

Dated: August 10, 2004                    SPRENGER & LANG, PLLC



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